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                         EXHIBIT A
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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF VIRGINIA
                                    ALEXANDRIA DIVISION


      UNITED STATES, et al.,

                              Plaintiffs,

             V.                                                  No. I :23-cv-00108-LMB-JF A

      GOOGLE LLC,

                              Defendant.


        DECLARATION OF PROFESSOR JOHN G.H. HUDSON IN SUPPORT OF
       GOOGLE'S MOTION TO STRIKE UNITED STATES' JURY TRIAL DEMAND

                    I, John Geoffrey Henry Hudson, hereby declare as follows:

                                              CREDENTIALS

                    I.      I am the Bishop Wardlaw Professor of Legal History in the School of

    History and Director of the Institute of Legal and Constitutional Research at the University of

    St Andrews in St Andrews, Scotland, and the L. Bates Lea Global Professor of Law at the

    Univers ity of Michigan. A true and correct copy of my cun-ent cun-iculum vitae is attached to

    this Declaration as Exhibit A.

                    2.       My area of academic expertise is generally English and continental

    legal history. Within that broad field, I foc us particularly on the legal history of ninth to

    thirteenth-century England and France. I further specialize in historical writing, late

    nineteenth-century study of medieval England, and the relationship between legal history and

    legal practice. I have worked on aspects of both historical and contemporary use of j ury trial.

    (e.g., https:// ilcr. wp.st-andrews.ac. uk/news/)

                    3.      My scho larly works include the Oxford Histmy ofthe Laws ofEngland

    (2012), The Formation of the English Common Law (1996/2017) and Land, Law. and

    Lordship in Anglo-Norman England ( 1994). I am also co-editor of Patrick Wormald's Papers
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      Preparato1y to the Making of English Law: King Alfred to the Twelfth Centwy. Volume If:

      From God 's Law to Common Law (U niversity of London: Early English Laws, 2014), Law

     and Government in Medieval England and Normandy: Essays in Honour of J.C.

      Holt (Cambridge University Press, 1994), Diverging Paths? The Shapes of Power and

     Institutions in Medieval Christendom and Islam (Brill, 2014), a third edition of Sir James

      Holt's Magna Carta (Cambridge University Press, 2015), and "The Making of Europe":

     Essays in Honour of Robert Bartlett (Brill, 20 16). I also edited and contributed to a volume

     of the Proceedings of the British Academy on The Histo,y ofEnglish Law Before the Time of

     Edward I: Essays Com memorating the Ce11tena1y of the Publication of "Pollock and

     Maitland'' ( 1996), and in 2006 gave the Selden Society Lecture to mark the centenary of

     Maitland 's death, wh ich was published in 2009 as F. W. Maitland and the Englishness of

     English law.

                    4.      Among other activities, I have given a plenary lecture to the British

     Legal flistory Conference entitled " Maitland and Austin: Legal Ifisto1y and Legal Theory in

     Nineteenth-Centwy England" (20 I?), the lectu re inaugu rating the Harvard Law School

     European Legal History Series (2017), and the Fulton Lecture in Legal History at the

     University of Chicago Law School in 2018 on " F. W. Maitland, Common Law, and Civil

     Law. " In 2023 I gave the Carly le Lectures at the University of Oxford on " Custom, Common

     Law, and Civil Law."

                    5.       have been elected to the Royal Society of Edinburgh, the British

     Academ y, and the Academia Europaea.

                    6.      For this investigation, I have worked in collaboration w ith my Post-

     doctoral Fellow, Dr. Andrew Cecchinato. He has written a book on law in the thought of

     Thomas Jefferson [L'EDUCAZIONE GIURlDICA DI THOMAS JEFFERSON (2021)] and

     is an expert on S ir William Blackstone and his Commentaries (e.g., Cecchinato, The nature




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    ofc ustom: legal science and comparative legal history in Blackstone's Commentaries (202 1)).

                         ASSIGNMENT AND SUMMARY OF OPINION

                    7.      I have been asked by counsel for Google in this matter to address the

    following question: At the time of the ratification of the Seventh Amendment to the United

    States Constitution ( 179 1), if the British Crown were to bring an action for damages against

    a private person, including a corporation, would that action customarily be heard at law with

    a trial by j ury, or would it instead be heard in equity w ithout a jury?

                    8.      As courts and treatises alike have recognized, "Classifying which

    actions belong to law and which to equity for the purpose of defining the ju1y trial right

    continues to be one of the most perplexing questions of trial administration." Charles Alan

    Wright & Arthur R. Miller, 9 Fed. Prac. & Proc. § 2302 (4th ed. 2023); see also Ross v.

    Bernhard, 396 U.S. 53 1, 538 n. l O (1970) (noting the "extensive a nd possibly abstruse

    histo1ical inqui1y"). For this question, there are limitations in the historical sources, including

    the restricted number o f Reports from the Cou1t of Exchequer in the eighteenth centu1y

    (JAMES OLDHAM, ed., CASE NOTES OF SIR SOULDEN LAWRENCE 1787- 1800 xvi-

    xvii (Selde n Society 128, 20 13); W.H. BRYSON, T HE EQUITY SIDE OF T HE

    EXCHEQU ER 200 ( 1975)), and the focus of the ex isting Reports on pleading, decisions

    regarding issues of law, and review of trial outcomes, (JOHN H. LANGBEIN, THE ORIGINS

    OF ADVERSARY TRIAL 7 (2005)). None theless, the review of these sources should allow

    for some conclusions about "appropriate analogies," Tull v. United States, 48 1 U.S. 4 12, 420

    ( 1987), that illustrate the likely common practice of the era, (Patrick Devlin, Jwy Trial of

    Complex Cases: English Practice at the Time of the Seventh Amendment, 80 COLUMB IA L.

    REV. 76-80 ( 1980)).




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                           CROWN VERSUS SUBJECT DAMAGES SUITS

                    9.       T he leading source to determine the customa1y practices of the English

     courts in the eighteenth century is the authoritative eighteenth-century treatise on English law

     published less than two decades before the ratification of the Seventh Amendment- William

     Blackstone's Commentaries on the Laws ofEngland.

                     I0.     I understand that U.S. courts frequently rely on Blackstone when

     dec iding Seventh Amendment issues. E.g., Jarkesy v. Securities & Exchange Com '11, 34 F.4th

     446, 453 (5th Cir. 2022); Full Spectrum Software. Inc. v. Forte Automotive Sys .. Inc., 858

     F.3d 666, 676 ( 1st C ir. 20 17); U.S. v. Stanfill El, 7 14 F.3d 1150, 1154-55 (2d Cir. 20 13);

     Johansen v. Combustion Engineering. Inc., I 70 F.3d I 320, I 330 ( 11 th C ir. 1999); Goar v.

     Compania Peruna de Vapores, 688 F.2d 4 17, 425-26 (5th C ir. 1982); Ruggiero v. Compania

     Peruna de Vapores Inca Capac Yupanqui, 639 F.2d 872, 880 n. IO (2d C ir. 198 1); U.S. v. One

     1976 Mercedes Benz 280S, 6 18 F.2d 453, 468-69 (7th C ir. I 980).

                    II.      13lackstone addresses injuries affecting the Crown in Book III, chapter

     17 of his Commemaries. T he re he gives a summary account o f the procedure fo llowed to

     obtain "satisfaction in da mages for any personal wrong" against the monarch. (Commentaries,

     Book lll, chapter 17, par. 26 1). Actions could include a "suit for recove ring money or other

     chattels" for wrongs done to the Crown. (Id). They could also concern " intrusion and debt":

     an intrusion concerned " trespass committed on the lands of the crown" and a debt suit

     conce rned "a ny contract fo r monies due to the king, or fo r any forfeiture due to the crown

     upon breach o f a penal statute" (Commentaries, Book lll, chapter 17, par. 26 1).

                    12.     The procedure for the C rown to seek redress was denominated an

     "information." According to Blackstone, "A n information on behalfof the crown, fil ed in the

     exchequer by the ki ng's attorney gene ral, is a method of suit fo r recovering money or other

     chattels, or fo r ob taining satisfaction in damages for any personal wrong committed in the




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    lands or other possessions of the crown." (Commentaries, Book lll, chapter 17, par. 261 ).

    Such a procedure was "instituted to redress a private wrong, by which the property of the

    crown is affected" ( Commentaries, Book Ill, chapter 17, par. 26 1).

                    13.     In the eighteenth centu1y, the Court of the Exchequer, where

    Blackstone makes clear an "information" would be filed, had both an equity side where a

    judge would conduct trials and a common law side where jury trials were available. (D.B.

    FOWLER, THE PRACTICE OF THE COURT OF EXCHEQUER UPON PROCEEDINGS

    IN EQUITY, IN TWO VOLUMES ( 1795); cf. Com. v. ONE (1) 1984 Z-28 CAMARO

    COUPE, 530 Pa. 523 ( 1992) (refen-ing to the Exchequer as a Common Law Cou1t);

    BYRSON, supra (for the earlier history of the court).

                    14.     The most significant source of re ported cases from the Court of

    Exchequer in the 1790s is Anstruther 's Reports. (A. ANSTRUTHER, REPORTS OF CASES

    ARGUED AND DETERMINED IN T HE COURT OF EXCHEQUER (2nd ed., 1817)).

    Those repo1ts offer no indication that cases brought by the Crown against a private individual

    for damages would customarily have gone to a ju1y. This reflects both the lack of such cases

    in the reported materials as well as the significant range of activities of the equity side of the

    Court of Exchequer, which is confirmed by the standard historical literature about that court.

    (FOWLER, supra; BRYSON, supra).

                    15.     Further there is evidence that complex cases for damages would have

    been tried by a single judge rather than a jury, as has been shown by the renowned English

    high court judge and legal scholar Lord Devlin. (Devlin, supra; see also Douglas King,

    Complex Civil Litigation and the Seventh Amendment Right to a Jury Trial, 51 U. CHICAGO

    L. REY., 58 1-6 14 ( 1984)). Such comp lex cases provide the closest analogue to the present

    case of a complex antitrust suit brought by the government against a private corporation.




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                                            CONCLUSION

                     16.    Given the weight of this evide nce-including the lack of mentions of

     jury trial in suits by the Crown for damages in the Reports, the significant equity jurisdiction

     of the Court of Exc hequer and the use of non-jury trials in complex cases-there is good

      reason to conclude that claims brought by the Crown for damages against a subject in a

     complex case in the eighteenth century would have been heard by a judge and not by a jury.



                   I declare under penalty of pe1jury under the laws of the United States of

     America that the foregoing is true and correct.

                   Executed on this I 5 th day of May, 2024.




                                   John G. H. Hudson




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                Exhibit A
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                                       CURRICULUM VITAE

                                       (last updated: 15 v 2024)

   NAME: HUDSON, John Geoffrey Henry

   AGE: 62     DATE OF BIRTH: 7 May 1962

   NATIONALITY: British

   ADDRESS: Department of Mediaeval History, 71 South St.,
         St. Andrews, Fife, KY16 9QW. (01334) (46)2888
         jghh@st-andrews.ac.uk

   CAREER:
        Undergraduate: Worcester College, Oxford. 1980-83

          Graduate: University of Toronto, 1983-4: M.A. in Mediaeval Studies.

                 Worcester College, Oxford, 1984-8.
                       D.Phil. 1988: Thesis: 'Legal Aspects of Seignorial Control
                       of Land in the Century after the Norman Conquest.'

   APPOINTMENTS:
        Research Fellow, Institute of Historical Research, University of London, 1987-8

          Junior Research Fellow, Worcester College, Oxford, 1987-8

          Lecturer in Mediaeval History, University of St. Andrews, 1988-1997

          Reader in Mediaeval History, University of St Andrews, 1997-2003

          Professor of Legal History, University of St Andrews, 2003-2017

          William W. Cook Global Law Professor, University of Michigan Law School, 2012-20

          Bishop Wardlaw Professor of Legal History, University of St Andrews, 2017-

          L. Bates Lea Global Professor of Law, University of Michigan Law School, 2020-


          Fellow of the Royal Historical Society

          Fellow of the Royal Society of Edinburgh (elected 2014)

          Fellow of the British Academy (elected 2016)
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          Member of the Academia Europaea (elected 2019)


          Lansdowne Memorial Lecturer in Medieval Studies, University of Victoria, British
          Columbia (Feb. 1997)

          Visiting Professor, University of Michigan Law School, Ann Arbor (2010-11)

          Carlyle Lecturer, Oxford (Hilary term, 2023)

          Guest Professor, Law Faculty, University of Vienna (Dec. 2023)


   EXTERNAL FUNDING - INDIVIDUAL
        Semester's leave under British Academy Research Leave Scheme, Martinmas semester,
        1997.

          British Academy Neil Ker Memorial Fund: £555 grant, 1997
                                 £800 grant, 2000

          Rubric Translation award: £800 grant, 1999

          British Academy Research Readership 2004-6

          AHRC Research Leave Scheme, 2009

   EXTERNAL FUNDING - PROJECT
        ERC Advanced Grant 2017: 2.1 million Euros for project on ‘Civil Law, Common Law,
        Customary Law’

   EXTERNAL FUNDING - COLLABORATIVE PROJECTS
        Project leader, British Council / Ministerio de Educación y Cultura
        'Acciones Integradas' programme, 1999-2001: 'Political discourses: a
        comparative study of ideologies of legitimation.'
                - collaboration with historians at CSIC, Madrid
                - £7800 grant for staff exchanges.

          Project leader, European Science Foundation 'Exploratory Workshop' programme, 2002:
          'Power and authority: comparative analyses of history, law and legitimation'
                  - collaborations with historians at Paris, Budapest, Madrid, Dublin,
                  Glasgow, Warsaw, Vilnius.
                  - 12,000 Euro grant for workshop in Madrid, Sept. 2002
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         Joint co-ordinator, Acciones Complementarias, Ministerio de Educación y Ciencia (Spain)
         2009-11: Processos de institucionalización: un estudio comparado entre Oriente y Occidente
         en la Edad Media
                 - collaboration with historians at CSIC Madrid, London, Glasgow, Lisbon, Rome,
                    Birmingham, Paris.
                 - 40,000 Euro grant.

         Research Lead, Marie Curie ITN, 2012-2016: ‘Power and Institutions in Medieval Islam and
         Christendom’
                - 3.3 million Euro grant

         AHRC Cultural Engagement, 2016: ‘Talking Law’
              - £25,000 grant

         Scottish Funding Council, 2021: ‘Mapping Medieval Legal Culture’
                 - £25,134 grant

         Marie Curie Global Fellowship for Dr Andrew Cecchinato, 2021-4
                - £200,000 grant


   TEACHING
        Oxford, 1988: Christ Church, Worcester, and Jesus Colleges

         University of St Andrews, 1988-.
                Lectures: British History 5th-15th centuries. European History 6th-13th centuries.

                Honours Options:
                             'Courtroom Dramas: Law, Literature, and Lordship'

                Supervisor of Honours dissertations in Mediaeval

                M. Litt. in Mediaeval History core course: 'Sources and Source criticism'

                M. Litt. in Legal and Constitutional Studies: ‘Approaches to Legal History’;
                ‘Comparative Studies in Legal History’; ‘The Idea of Law’ (core course);
                'Comparative Studies in Legal and Constitutional Research' (core course)

                M.Litt. in Mediaeval Studies

         University of Michigan Law School (March/April 2010-2012, 2014, 2016- )

         University of Vienna, Law Faculty (Dec. 2023)

         Fellow of the Institute of Learning and Teaching, now Higher Education Academy
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          Nominee for University of St Andrews Students’s Association Teaching Award: 2011 (ug),
          2016 (pg), 2024 (Mentorship)

          Winner University of St Andrews Students’s Association Teaching Award: 2017
          (dissertation/project supervisor)

   Post-graduate students supervised:
          (i) dissertations for 1-year courses (since 2014):
                   Ethan Birney: Hugh the Chanter and the Primacy (MLitt, 2014)
                   Meghan Woolley: Anger in the Becket dispute (MLitt, 2014)
                   Rebecca Searby: The Jews in the Plea Rolls to 1250 (MLitt, 2015)
                   Maria Merino Jaso: Verse in Henry of Huntingdon (MLitt, 2015)
                   Ian Moret: Maintenance and receiving in England in the Thirteenth Century (MLitt,
                   2015)
                   Jessie Bonafede: Authority and violence in the earliest Kentish laws (MLitt, 2015)
                   Josephine Amos: Mutilation in twelfth-century England (MLitt, 2017)
                   Maya Metzger: Fairies in the Middle Ages (MLitt, 2017)
                   John Chan: University regulations, legal pluralism, and the rule of law (MLitt, 2017)
                   Richard Nicholl: “From bias free of every kind”: utilitarianism and the
                   English trial jury, 1808-1914 (MLitt, 2018)
                   Abigail Hartman: In death a victor: Songs on the rebel Simon de Montfort in the
                   thirteenth and fourteenth centuries (MLitt, 2018)
                   Meagan Clark: An analysis of herbal medicine in Hildegard von Bingen's Plants
                   (MLitt, 2018)
                   Callum Jamieson: Papal judges-delegate and the diocese of Lincoln, c.1159 - c.1199
                   (MLitt, 2018)
                   Corranne Wheeler: A mirror of princes: a comparative study of kingship between
                   Henry II of England and Fulk of Jerusalem (MLitt, 2018)
                   Harriet O’Connor-James: An Examination of medieval graffiti, with particular
                   reference to the identity, motivation, choice of venue and images used by the artists
                   (MLitt, 2018)
                   Joshua Phillips: Voluntatem vero propriam ita facere prohibemur: St
                   Anselm's concepts of obedience and authority within the Bec Letters,
                   1063-1093 (MLitt, 2019)
                   Julia Rohn: The progression of West-Saxon vs. Kentish diplomatics in Anglo-Saxon
                   charters (MLitt, 2019)
                   Alasdair Wilde: Free Samples?: An investigation of U.S. Copyright
                   Legislation through an analysis of music sampling. (MLitt, 2019)
                   Paolo Celeridad: Marbury v. Madison and R (Miller) v. The Prime
                   Minister: An Attempt at Comparative Constitutional Rhetoric (MLitt,
                   2020)
                   John Priddy: The Canary in the Coal Mine: The Right to Counsel and Public Defense
                   in American Law (MLitt, 2020)
                   Scarlett Swain: To What Extent did the Principle of Judicial Independence Play a
                   Part in the Transition From the House of Lords to the Creation of the UK Supreme
                   Court? (MLitt, 2020)
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                David Ponwitz: Violence, Honour and Law in the “Feud” of Sichar and the Saga of
                Þorgils and Hafliði (MLitt, 2020)
                Cheng Zhu: “The Last Constitutional Fight”: What can the Prohibition on
                Face Covering Regulation Tell Us About Legal Resistance of the High
                Court of Hong Kong During the 2019-2020 Protest? (MLitt, 2020)
                Jonathan Carey: How do Marxist Theories of Law advance Understanding
                of the Rule of Law, considering Current Government Policy (MLitt, 2021)
                Alix de Broons: Defining Kingship in Times of Trial, Scotland c. 1286-
                1329 (MLitt, 2021)
                Kathrin Nickel: Gendered Space, Property, and Women’s Clubs: The
                Contrasting Managerial and Financial Structures Facilitating Property
                Transactions for the Purposes of Housing Female Establishments in
                London, c. 1883-1934 (MLitt, 2021)
                Anna Brainin: Anatomy of a Leading Case: The Great Gleaning Case of
                1788, its Judicial Reasoning, and its Jurisprudential Meaning (MLitt,
                2022)
                Poppy Kershaw: “An atmosphere of trust” – Conscience, Chancery, and
                the Moral Personality of English Jurisprudence in F.W. Maitland (MLitt,
                2022)
                Julia Horn: The use of ius commune sources in Bracton, Britton, and Fleta
                (MLitt, 2023)
                Lauren Parker: Queenly Anger in the twelfth and thirteenth centuries
                (MRes, 2023-4)
                Eliza Hobbs: Orphans and fostering in late medieval Italy (MLitt, 2024)
                Flora MacKechnie: Property and Social Control in the Early Common
                Law (MLitt, 2024)
                Cooper Smith: Peremptory Challenges to Jurors (MLitt, 2024)

         (iii) doctorates
                  Nicola J. Castles: The Transmission of Classical and Patristic Texts in late Anglo-
                  Saxon and early Norman England, (Ph.D., 1994) [jointly with D.A. Bullough and A.
                  Gratwick]

                Julie Kerr: Perceptions and Practices of Benedictine Hospitality in England (Ph.D.,
                2000)

                April Harper, Representations of adultery in Old French Literature (Ph. D., 2003)

                Amanda Martinson, Ecclesiastical Patronage of Henry II (Ph.D., 2007)

                Elizabeth Thomas, Royal marriages in twelfth and thirteenth century England (Ph.D.,
                2009)

                Linsey Hunter, Lordship and land-holding between the Humber and the Forth
                (Ph.D., 2011)
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               Kate Hammond, Politics and family relations in eleventh and twelfth twelfth-century
               Normandy (Ph.D., 2013)

               Matthew McHaffie, Lordship, law, and violence in Anjou, c. 950-1150 (Ph.D., 2013)

               Eilidh Harris, Representations of Sanctity in twelfth-century English Hagiography
               (PhD 2014)

               Michael French, Churchmen and reform in England c. 1100 (PhD 2015)

               Jane Edwards, The writing of short histories in twelfth-century England (PhD 2015)

               Will Eves, The Assize Mort d’Ancestor (PhD 2016)

               Maxine Esser, John of Salisbury and law (PhD, 2017)

               Lydia Hayes, Images of women in Romance (PhD, 2017)

               Joshua Hey, Political oaths in England, c. 871-1272 (PhD, 2017)

               Sarah White, Litigation and legal argument in English ecclesiastical courts in the
               thirteenth century (PhD, 2017)

               Cory Hitt, Codes of honour and law in mediaeval French and Icelandic literature
               (PhD, 2018)

               Ethan Birney, East Anglian monasteries in Stephen’s reign (PhD, 2019)

               Ingrid Ivarsen, Grammar and Structure of Anglo-Saxon laws (PhD, 2020) [jointly
               with Prof. C. Humfress]

               David De Concilio, Via Brocardica: The Development of Brocards and the Western
               European Legal Tradition (c. 1160-c. 1215) (PhD, 2022; co-tutelle with Roma Tre)

               Dan Armstrong, Anglo-Papal Relations, c. 1066-c. 1135 (PhD, 2022)

               Dominika Brzezinska, Aspects of illegitimacy in the Middle Ages (PhD, 2022)

               Calum Jamieson, England and the Papacy 1170-1220 (PhD, 2023) [jointly with Dr S
               Marritt, Univ. of Glasgow]

               Kim-Thao Le, Crime and Reputation in Thirteenth-Century England, (in progress;
               co-tutelle with Paris Nanterre)

               Cinnamon Ducasse, Ecclesiastical Property in Roman Law and Ius Commune (in
               progress) [jointly with Prof. C. Humfress]
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                Lili Scott Lintott, Royal Grief in England 1066-1307 (in progress) [jointly with Prof.
                M. Strickland, Univ. of Glasgow]

                Poppy Kershaw, F.W. Maitland and late Victorian learning (in progress)

                Alex Lombardo, Carolingian and Anglo-Saxon Legislation (in progress)

         (iv) others (since 2014):
                 Ole-Albert Rønning (Univ. of Oslo, M.A., 2016 – external supervisor): Aristocratic
                 political refugees in 12th-century Scandinavia.

                David Moen (Univ. of Oslo, M.A., 2017 – external supervisor): Chroniclers and the
                1173 rebellion against Henry II

                Yaoling Dai (PhD student, Capital Normal University, Beijing, China,
                2018-19 – visiting student): Sheriffs and the development of the Common
                Law.

                Rebeka Laucikova (PhD student, Charles University, Prague – visiting
                student): Outlawry in English law c. 870-1220.

                Meghan Woolley (PhD student, Duke University, 2019-21): The Role of
                Emotions in Shaping English Law, c. 1114-1272.

   ADMINISTRATION:
       (a) St Andrews (Selected - since 2010)
       Mediaeval History M. Litt. co-ordinator (2007-9, 2014-17)
       Legal and Constitutional Studies MLitt. co-ordinator (2019-2023)
       Convenor, ME1003 (2023- )

         Director of Teaching, School of History (1998-2001)
         Director of Research (2010-11)
         Head of School of History (2001-4, 2011-14)

         Co-director, Centre for Mediaeval and Early Modern Law and Literature (2011-16)
         Founder and Director, Institute for Legal and Constitutional Research (2015-19, 2022-)
         Deputy Director, Institute for Legal and Constitutional Research (2020-22)

         Organiser Mediaeval Studies Research Seminar; Dark Age Studies committee;
         Interdisciplinary Research Seminar committee.

         600th Anniversary Committee (2010-11)
         Promotions Panel (2011-16)
         Professorial salary review panel (2012)
         Senate Supervisory Board for Rectorial Election (2014)
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          Research Excellence Board (2018-19)

          (b) National
          Academic assessor for History, SHEFC Assessment of the Quality of Teaching and
          Learning 1995-6 programme
          Academic Reviewer, QAA trials, 1999

          (c) Learned Societies
          European vice-President, Haskins Society (1997-2002)

          Selden Society Council (1998- )
          Selden Society Doctoral Scholarship committee (2013- )
          Selden Society Yale Prize committee (2020- )

          Royal Society of Edinburgh, Sectional Committee (2014-16)
          Royal Society of Edinburgh, Young Academy application reviewer (2014- )
          Royal Society of Edinburgh, Nominations Group (2020- )

          British Academy Stenton fund committee (2018- ), vice-Chair (2021- )
          British Academy Medieval Studies Section Committee (2024- )

   MEDIA (selected)
        1999-2000: Historical Consultant for BBC ‘A History of Britain’: programme on Henry II
        2001: BBC Radio interview: Magna Carta and the UK Independence Party
        2002: Consultant, ITV, 'Adventures of English'.
        2003: BBC Radio 4 ‘Making History’ interview: ‘The after-life of King Harold II’
               BBC Radio 4 ‘Making History’ interview: ‘The hundred rolls and
               the Black Book of the Exchequer’
        2004: BBC Radio 4 ‘The Norman Way’
        2004: Consultant and interviewee, Discovery Channel ‘Violent Nation’
        2005: BBC Radio 4 ‘Making History’ interview: ‘King Harold and Bosham’
        2007: Channel 4 ‘History of English Law’: consultant and interviewee
        2008: BBC ‘Coast’: consultant
        2010: BBC History animation for children: consultant
        2011: BBC4 History of law series ‘The Strange Case of the Law’: consultant and
        interviewee (broadcast 20 June 2012)
        2012: BBC Learning series on crime and punishment: consultant
        2014: Contratiempo (Spain): joint lead contributor on feature on PIMIC project
        2015: Delo (Slovenia): Interview ‘Magna Carta med spominom, mitom in zapisano besedo’.
        2016: Contratiempo (Spain): lead contributor on feature on Magna Carta
        2021: Massolit: ‘Crime in Anglo-Norman England’
        2021- : 'Talking Constitutions' podcasts
        2023: Scottish Futures podcast: 'Jury trial in Scotland'

   SELECTED NON-UNIVERSITY PRESENTATIONS
        Lectures and talks given at various secondary schools; also to University Open Association.
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         Lectures at teachers' conferences, St Andrews, 1992, 1993
         Course on Norman Britain, Historical Association Summer School, St Andrews, 1993
         Lecture on ‘Symbols of Power and Lordship’, University of St Andrews Museum Maces
         Exhibition, Nov. 2013
         Lecture on ‘French law and Common law’, Franco-Scottish Society, St Andrews, 2024

   INTERNAL POST-GRADUATE EXAMINING
        Elisabeth Austin, Ph. D. (May 1996)
        Mark Hagger, Ph. D. (Oct. 1998)
        Bjorn Weiler, Ph. D. (Dec. 1998)
        Richard Yarlett, Ph. D. (Jan. 2004)
        Brian Briggs, Ph. D. (June 2004)
        Sally Crumplin, Ph. D. (April 2005)
        Nancy Mitton, Ph. D. (April 2007)
        Lynsey Robertson, Ph. D. (August 2007)
        Will Kay, Ph. D. (June 2012)
        Ed Roberts, Ph. D. (December 2013)
        Vittorio Mattiolo, Ph. D. (November 2017)
        Peter King, Ph. D. (July 2018)
        Suzette van Haaren, Ph. D. (Jan. 2022)
        Cameron Houston, Ph. D. (August 2022)
        Hailey O’Harrow, PhD. (May 2023)

   EXTERNAL EXAMINING
        Undergraduate: University College, Scarborough (1993-7)

         Post-graduate:
                Oxford, Medieval History M.St., (2009-11)

                J.A. Meddings, Loyalty and War in Twelfth-Century England, (Leeds, M.A., 1994)

                J. Bickford Smith, Orderic Vitalis and Norman Society, c. 1035-87 (Oxford, DPhil.,
                2006)
                Thomas Roche, (Paris, PhD, 2006)
                Sarah Tullis, Glanvill after Glanvill, (Oxford DPhil., 2007)
                Thomas Lambert, Protection, Feud and Royal Power: Violence and its Regulation in
                English Law c. 850 c. 1250 (Durham, PhD, 2009)
                Sarah Raich, The Sea in the Anglo-Norman Realm, c. 1050 to c. 1180 (Cambridge,
                PhD, 2014)
                James Lawson, The Influence of Civilian and Canonist Learning on the English
                Royal Law, 1152-1189 (Cambridge, PhD, 2015)
                Jonathan Paletta, Identities and Interactions in English Towns 1066-c. 1166
                (Cambridge, PhD, 2015)
                Janice Musson, Commoners and the Assize of Novel Disseisin 1194-1221
                (Nottingham, PhD, 2016)
                Miriam Tveit, In Search of Legal Transmission (Tromso, PhD, 2017)
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                 Kenneth Duggan, Communal Justice in Thirteenth-century England (King’s College
                 London, PhD, 2017).
                 Robert Cohen, Taxation in England, c. 991-1135 (Oxford, DPhil, 2017)
                 Hannah Boston, Lordship and locality: multiple lordship in the north Midlands
                 during the long twelfth century (c.1066-c.1216) (Oxford, DPhil, 2018)
                 Richard Purkiss, Royal administration in East Anglia, c. 917-1066 (Oxford, DPhil,
                 2019)
                 Suzette van Haaren, The Digital Manuscript: approaches to digital codicology,
                 (Groningen, PhD, 2022)
                 Meghan Woolley, The Heart of the Court: The Role of Emotions in
                 Shaping English Law, c. 1114-1272, (Duke, PhD, 2022)

   EXTERNAL ASSESSOR FOR GRANTS

   AHRB Resource Enhancement grants

   AHRC grants

   British Academy Small Grants
   British Academy Mid-Career Fellowships
   British Academy Global Professorships
   British Academy Talent Development Awards

   European Science Foundation Exploratory Workshops
   European Science Foundation Pool of Peer Reviewers (2006-16)
   European Science Foundation College of Expert Reviewers (2016-)

   Foundation of Polish Science

   Irish Research Council for the Humanities and Social Sciences – Government of Ireland Post-
   Doctoral Fellowship Scheme

   Institute of Advanced Studies, Princeton (2010- )

   Italian Ministry of Education, Universities and Research (MIUR) (2011-)

   Leverhulme Major Research grants

   St John’s College, Cambridge, Research Fellowships

   ADVISORY BOARDS FOR FUNDED PROJECTS

   2008-9 AHRC funded Anglo-Norman Research Group (based at University of Edinburgh)
   2008-11 AHRC funded Early English Laws Project (based at IHR, London)
   2009-12 Leverhulme-funded Anglo-Saxon Assemblies sites project (based at University College
   London.
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   2019-22 British Academy Legal Jurisdictions project (based at University of Sheffield and King’s
   College London)

   EXTERNAL ASSESSOR FOR CHAIR APPOINTMENTS

   Universities of Birmingham and Exeter

   EXTERNAL ASSESSOR FOR PROMOTIONS

   Department of History, University of Keele
   Department of History, University of California Riverside
   Department of History, Cardiff University
   William and Mary Law School
   Trinity College, Dublin
   Modern History Faculty, University of Oxford
   Department of History, University of Pennsylvania
   Department of Law, University of Melbourne
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   PUBLICATIONS:

   (A) Books:
         (a) sole author / scholarly editions and translations:

          (i) Land, Law, and Lordship in Anglo-Norman England, (Oxford, 1994). [320 pp.]
                  (Paperback edn., 1997)

          (ii) The Formation of the English Common Law: Law and Society in England from the
          Norman Conquest to Magna Carta, (Longmans, 1996). [271 pp.]
                  (Chinese translation, 2006)

          (iii) The History of Abingdon Abbey, vol. ii, (Oxford, 2002). [533 pp.]

          (iv) The History of Abingdon Abbey, vol. i, (Oxford, 2007). [647 pp.]

          (v) The Oxford History of the Laws of England, vol. ii, (Oxford, 2012). [980 pp.]

          (vi) The Formation of the English Common Law: Law and Society in England from the
          King Alfred to Magna Carta, (Routledge, 2017). [234 pp.]
                 (much expanded new edition of (ii) above)

          (vii) The Balliol Glanvill (online publication, 2019)

          (viii) Laws in Common? (submission, 2024)

          (b) edited volumes of essays

          (i) ed. with G. S. Garnett, Law and Government in Mediaeval England and Normandy:
          Essays in Honour of J.C. Holt, (Cambridge, 1994). [387 pp.]
                   (Paperback edn., 2002)

          (ii) ed., The History of English Law before the Time of Edward I: essays commemorating
          the centenary of the publication of 'Pollock and Maitland', (Proceedings of the British
          Academy, 89, 1996). [288 pp.]
                   (reprinted 1997)

          (iii) ed. with A. Rodriguez, Diverging Paths? The Shapes of Power and Institutions in
          Medieval Christendom and Islam (Leiden, 2014). [435pp.]

          (iv) ed. with S. Crumplin, ‘The Making of Europe”: Essays in Honour of Robert Bartlett
          (Leiden, 2016). [319pp.]

          (v) ed. with W. Eves, I. Ingridson and S. White, Common Law, Civil Law, and Colonial
          Law: Essays in Comparative Legal History (Cambridge, 2021) [347 pp.]
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          (c) editions of books by other authors

          (i) P. Wormald, Papers Preparatory to the Making of English Law volume ii, ed. with S.
          Baxter (2014): http://www.earlyenglishlaws.ac.uk/reference/wormald/

          (ii) J. C. Holt, Magna Carta, ed. with G. S. Garnett (3rd edition, with new Introduction and
          other additional material, Cambridge, 2015)

   (B) Articles
          'Life-Grants of Land and the Development of Inheritance in Anglo-Norman England',
          Anglo-Norman Studies, xii (1990), 67-80.

          'Diplomatic and Legal Aspects of the Earldom of Chester Charters', in The Earldom of
          Chester and its Charters: a Tribute to Geoffrey Barraclough, ed. A.T. Thacker, (1991), 153-
          78.

          'Milsom's Legal Framework: Interpreting Twelfth-Century Law', Tijdschrift voor
          Rechtsgeschiedenis, lix (1991), 47-66.

          'Administration, Family, and Perceptions of the Past in Twelfth-Century England', in
          Perceptions of the Past in Twelfth-Century Europe, ed. P. Magdalino, (London, 1992), 75-
          98.

          'Anglo-Norman Land Law and the Origins of Property', in Law and Government in
          Mediaeval England and Normandy: Essays in Honour of J.C. Holt, (Cambridge, 1994), 198-
          222.

          with G.S. Garnett, 'Preface: J.C. Holt', in Law and Government in Mediaeval England and
          Normandy: Essays in Honour of J.C. Holt, (Cambridge, 1994), ix-xii.

          'Maitland and Anglo-Norman Law', in The History of English Law before the Time of
          Edward I: essays commemorating the centenary of the publication of 'Pollock and Maitland',
          (Proceedings of the British Academy, 89, 1996), 21-46.

          'The Abbey of Abingdon, its Chronicle, and the Norman Conquest', Anglo Norman Studies,
          xx (1997), 181-202.

          'La interpretación de disputas y resoluciones: el caso inglés, c. 1066-1135', Hispania, lvii
          (1997), 885-916.

          'Crime and the formation of the Common Law', in T.S. Haskett, ed., Crime and Punishment
          in the Middle Ages, (Victoria, BC, 1998), 19-35.

          'Henry I and counsel', in J. Maddicott and D. Palliser, eds, The Medieval State, (London,
          2000), 109-26.
Case 4:20-cv-00957-SDJ      Document 690-1 Filed 12/01/24              Page 22 of 28 PageID #:
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         'Court cases and legal arguments in England, c. 1066-1166', Transactions of the Royal
         Historical Society, 6th Ser. 10 (2000), 91-115.

         'Kings and crime: ideology and practice in the tenth and twelfth centuries', in Droit et société
         en France et en Grande Bretagne, Xe - XXe siècles, ed. J.-P. Genet and P. Chassaigne (U. of
         Sorbonne P., Paris, 2003), 15-38.

         ‘Legal aspects of Scottish charter diplomatic in the twelfth century: a comparative
         approach’, Anglo-Norman Studies, 25 (2003), 121-38

         ‘L’écrit, les archives et les débuts de la common law anglaise’, Revue Historique, (2006), 3-
         35

         ‘Faide, Vengeance et Violence en Angleterre (ca 900-1200)’, in La Vengeance 400-1200,
         ed. D. Barthélemy, F. Bougard, and R. Le Jan (École Francaise de Rome, 2006), 341-82.

         ‘Power, law, and the administration of justice in England 900-1200’, in Law and Power in
         the Middle Ages, ed. P. Andersen, M. Munster-Swendsen and H. Vogt (Copenhagen, 2008),
         153-70.

         ‘The making of English law and the varieties of legal history’, in Early Medieval Studies in
         Memory of Patrick Wormald, ed. S. Baxter and N. Brooks (Leicester, 2009), 421-32.

         ‘Customs, laws, and the interpretation of mediaeval law’, in Custom: The Development and
         Use of a Legal Concept in the Middle Ages, ed. P. Andersen and M. Munster-Swendsen
         (Copenhagen, 2009), pp. 1-16.

         ‘F. W. Maitland and the Englishness of English Law’ (Selden Society lecture for 2006;
         2009), 31pp.

         ‘Feud, Vengeance and Violence in England c. 900-1200’, in Feud, Violence and Practice:
         Essays in Medieval Studies in Honor of Stephen D. White, ed. B. S. Tuten and T. L. Billado
         (Farnham, 2010), 29-53

         ‘From the Leges to Glanvill: legal expertise and legal reasoning in twelfth-century
         England’, in English Law Before Magna Carta: Felix Liebermann and Die Gesetze der
         Angelsachsen, ed. S. Jurasinski et al. (Leiden, 2010), pp. 221-49.

         ‘Magna Carta, ius commune, and the Common Law’, in Magna Carta and the England of
         King John, ed. J. S. Loengard (Woodbridge, 2010), 99-119

         ‘Order and justice’, in A Social History of England 900-1200, ed. J. Crick and E. M. C. van
         Houts (Cambridge, 2011), 115-23.

         ‘War and violence’, in A Social History of England 900-1200, ed. J. Crick and E. M. C. van
         Houts (Cambridge, 2011), 124-32.
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         ‘Imposing feudalism on Anglo-Saxon England? Norman and Angevin presentation of pre-
         Conquest lordship and land-holding', in Feudalism: New Landscapes of Debate, ed. S.
         Bagge et al. (Turnhout, 2011), 115-34.

         ‘The fate of Waltheof and the idea of personal law in England after 1066’, in Normandy and
         its Neighbours, 900-1250: Essays in Honour of David Bates (Turnhout, 2011), 223-235.

         ‘Derecho, Escritura y Memoria Real en Inglaterra, c. 870-1215’, in La Construcción
         Medieval de la Memoria Regia, ed. P. Martínez Sopena and A. Rodriguez (Valencia, 2011),
         209-20.

         ‘Local History’, in The Oxford History of Historical Writing, ed. S. Foot and C. Robinson
         (Oxford, 2012), 457-75.

         ‘Constitutions of Clarendon, clause 3, and Henry II’s reforms of law and administration’, in
         Laws, Lawyers and Texts: Studies in Medieval Legal History in Honour of Paul Brand, ed.
         S. Jenks, J. Rose, and C. Whittick (Leiden, 2012), 1-19.

         ‘Legal history and the history of disputes’, in Disputing Strategies in Medieval Scandinavia,
         ed. K. Esmark et al. (Leiden, 2013), 333-41.

         ‘The abbey of Abingdon’, in English Cathedrals and Monasteries (DVD-ROM, York, 2013)

         with G. S. Garnett, ‘Introduction’, in J.C. Holt, Magna Carta, ed. Hudson and Garnett (3rd
         edn, Cambridge, 2015), pp. 1-32.

         ‘Prueba y verdad en el temprano derecho inglés medieval’, in Derecho y Verdad II:
         Genealogía(s), ed. G. Sucar and J. Cerdio Herrán (Valencia, 2015), 499-526.

         ‘England and the “Making of Europe”: Conquest, Colonization and Cultural Change’, in ,
         ‘The Making of Europe”: Essays in Honour of Robert Bartlett, ed. J. Hudson and S.
         Crumplin, (Leiden, 2016), 33-52.

         ‘Maitland and Austin: legal history and legal thought in the late 19th century’, in Law and
         Authority in British Legal History, 1200-1900, ed. M. Godfrey (Cambridge, 2016), pp. 293-
         328.

         ‘From the Articles of the Barons to Magna Carta’, Anglo-Norman Studies 38 (2016), 1-17.

         ‘Emotions in the early Common Law (c. 1166-1215)’, Journal of Legal History 38 (2017),
         130-54.

         ‘The place of Henry I in English legal history’, Haskins Society Journal 28 (2017), 63-81.

         with Mark D. West, ‘Stringer’s saga: Njal and The Wire’, in Emotion, Violence, Vengeance
Case 4:20-cv-00957-SDJ       Document 690-1 Filed 12/01/24              Page 24 of 28 PageID #:
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          and Law in the Middle Ages: Essays in Honour of William Ian Miller, ed. K. Gilbert and S.
          D. White (Leiden, 2018), pp. 271-95.

          with Kimberley-Joy Knight, ‘Miller(ed) in St Andrews’, in Emotion, Violence, Vengeance
          and Law in the Middle Ages: Essays in Honour of William Ian Miller, ed. K. Gilbert and S.
          D. White (Leiden, 2018), pp. 19-22.

          ‘Reading terminology in the sources of the early Common Law: Seisin, simple and not so
          simple’, in English Legal History and its Sources: Essays in Honour of Sir John Baker, ed.
          D. Ibbetson, N. Jones, and N. Ramsay (Cambridge, 2019), pp. 79-99.

          with W. Eves, ‘Situating, researching, and writing comparative legal history’, in Common
          Law, Civil Law, and Colonial Law: Essays in Comparative Legal History, ed. W. Eves, J.
          Hudson, I. Ingridson and S. White (Cambridge, 2021), pp. 1-24.

          ‘Glanvill: Law, language, and identity’, in Lives, Identities and Histories in the Central
          Middle Ages, ed. J. Barrau and D. Bates (Cambridge, 2021), pp. 264-81.

          with D. L. d’Avray, ‘Susan Reynolds’, Biographical Memoirs of Fellows of the
          British Academy, 20 (2022), 139–164

          ‘Judicial rhetoric and political legitimation’, in Conflict, Language, and Social Practice in
          Medieval Societies: Selected Essays of Isabel Alfonso, with commentaries, ed. Julio
          Escalona Monge, Álvaro Carvajal Castro, and Cristina Jular Pérez-Alfaro (Turnhout, 2024),
          pp. 87-92.

          ‘G. O. Sayles and the Writing of Legal History’, (Aberdeen, forthcoming).


   (C) Selected other pieces
          'Preface', in The History of English Law before the Time of Edward I: essays
          commemorating the centenary of the publication of 'Pollock and Maitland', (Proceedings of
          the British Academy, 89, 1996), pp. ix-x.

          'What did the Normans do for us', BBC History web site (2000)

          'Common Law - Henry II, the Angevins, and the forming of a state', BBC History web site
          (2000)

          'The Maitland memorial', BBC History Magazine, (2001)

          ‘The Norman Conquest’, BBC History Magazine, (2003)

          ‘The Dialogue of the Exchequer’, BBC History Magazine, (2003)

          ‘What universities wish history candidates would do at school’, TES Teacher (2003)
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          New Dictionary of National Biography,
                short articles (500-1000 words) on: Geoffrey de Bocland; Henry of Northampton;
                Hugh de Bocland; Hugh de Chaucombe; Nicholas de Sigillo; William Bendings

                 longer articles (2000-3000 words) on: Nigel, bishop of Ely; Ranulf de Glanville;
                 Richard fitzNigel; Richard of Ilchester

          ‘The Normans’, BBC web-site (2006)

          ‘The Miracle of Justice’, BBC History Magazine (2007)

          ‘Feudal law: common law’, Oxford International Encyclopedia of Legal History (Oxford,
          2009)

          J.C. Holt, Obituary, The Times 2014

          2015: Indian Express (Mumbai): ‘Magna Carta: 1215 and After’ (16 June 2015)

          2019: BBC HistoryExtra: ‘The historical differences between Scottish and English Law, and
          what it means for Brexit’ (https://www.historyextra.com/period/stuart/historical-differences-
          scottish-english-law-what-it-means-brexit-supreme-court-session/)

          Reviews for academic journals including: Medium Aevum, History, English Historical
          Review, Tijdschrift voor Rechtsgeschiedenis, Cambridge Law Journal, Legal History
          Review, Journal of Legal History, Journal of Ecclesiastical History, Speculum, Early
          Medieval Europe. Times Literary Supplement, BBC History Magazine, Catholic History
          Review, Journal of Law and Religion

          Editing of papers of P. Wormald, following his death:
                 ‘The first code of English law’, (Canterbury, 2005)
                 ‘Lawyers and the State: the varieties of legal history’ (Selden Society, 2008)

   CONFERENCES ORGANIZED

   Joint organiser, St John's House Conference on 'Latin and the Vernacular', May 1994.

   Co-ordinator for 1995 British Academy symposium commemorating the centenary of Maitland's
   History of English Law.

   Organiser, symposium on 'Political Legitimation in the Middle Ages', St Andrews, March 2001.

   Organiser, European Science Foundation 'Exploratory Workshop' on 'Power and authority:
   comparative analyses of history, law and legitimation', CSIC, Madrid, Sept. 2002.

   Organiser, Marie Curie ITN workshop: ‘Sources’, St Andrews Oct. 2013.
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   Organiser, Marie Curie ITN workshop: ‘Complementary Skills’, St Andrews June 2014.

   Co-organiser: ‘Emotions in the Courtroom’, St Andrews May 2015.

   Advisory Committee: ‘Emotions in Legal Practice’, Centre for the History of Emotions, University
   of Sydney Sept. 2016.

   Co-organiser: workshop on ‘Forensic Rhetoric and the History of Emotions’, St Andrews August
   2018.

   Co-organiser: workshop on ‘History of Law and Emotions’, London August 2018.

   Co-organiser: ‘Reflections on the Union: Past, Present and Future’, St Andrews October 2018.

   Organiser: ‘The Law’s Two Bodies’, St Andrews October 2018.

   Chair, Organising Committee, British Legal History Conference, St Andrews July 2019.

   Co-organiser (with Scotia Group): workshop on ‘The UK as host of COP26: Communities, nations,
   and the law’, St Andrews June 2021.

   Organiser: ‘The Law’s Two Bodies: "Soft law"’, St Andrews February 2022.

   Co-organiser: workshop on 'Jury trial and rape in Scots Law', St Andrews October 2023.

   PAPERS DELIVERED:
        Named Lectures
             1997 Lansdowne Memorial Lecture (University of Victoria, British Columbia):
             'F.W. Maitland and the Englishness of English Law'
             2004 Edwards Lecture (University of Glasgow): ‘Writing, literacy, and the formation
             of the English Common Law’
             2006 Selden Society Maitland Centenary lecture: ‘F. W. Maitland and the
             Englishness of English Law’
             2015 Allen Brown Memorial Lecture on Anglo-Norman Studies: ‘From the Articles
             of the Barons to Magna Carta’
             2015 C. Warren Hollister Memorial Lecture; ‘The place of the reign of Henry I in
             English legal history’
             2017 Harvard Law School European Legal History Series (inaugural lecture): ‘Law
             and Emotions in the Early Common Law’
             2018 Fulton Lecture in Legal History, University of Chicago Law School: ‘F. W.
             Maitland, Common Law, and Civil Law’
             2023 Carlyle Lectures (University of Oxford): ‘Custom, Common Law, and Civil
             Law’

          Conferences (since 2010):
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                2011: Law Faculty, University of Copenhagen: ‘Histories of Disputing and Histories
                of Law’
                2011: International Medieval Congress, Leeds: ‘Consent to alienation of land: a
                comparative approach’
                2011: University College of London Institute of Archeology, Power and Place in
                Later Roman and Early Medieval Europe Conference: ‘Assemblies, Courts, and Law
                Courts, from Alfred to Magna Carta’
                2012: Copenhagen, Law and Society Conference: ‘Law and disputing’
                2013: British Legal History Conference, Glasgow: ‘Maitland and Austin: Legal
                history and legal thought in the late nineteenth century’ (Plenary lecture)
                2015: The Magna Carta Conference, London: Magna Carta: Ius commune and
                Common Law (roundtable)
                2015: International Medieval Congress, Leeds: ‘Frustration leads to anger: clerics
                and laymen in the courtroom’
                2016: Milsom symposium, Cambridge: ‘Glanvill’s Legal Framework’
                2017: Legal History and Legal Theory, Edinburgh: ‘Defining Law for Comparative
                Legal History’
                2017: ‘Powerful Emotions / Emotions and Power c.400-c. 1850’ conference, York:
                ‘Reading Emotions in the Early Common Law’
                2018: International Society for Intellectual History conference, St Andrews: ‘F. W.
                Maitland, Civil Law, and Common Law: Borders and Boundaries’ (Keynote lecture)
                2019: International Medieval Congress, Leeds: ‘Lanfranc’s adventures in Iceland’
                2019: Annual Conference of the Sheriffs of Tayside, Central Region, and Fife:
                ‘Children and the Law: a View from the Middle Ages’
                2019: Australasian Languages and Literature Association Conference (Wollongong):
                ‘‘Saint’ Lanfranc in Iceland and Canterbury: reception and non-reception’
                2019: Australia and New Zealand Law and History Society Conference: ‘Common
                Law, Civil Law, and English Identity’ (Keynote lecture)
                2019: Australia and New Zealand Law and History Society Conference: ‘Law’s
                History: Responsibility as Disciplinary Practice’ (Plenary panel)
                2021: British Academy ‘Jurisdictions’ project workshop (Online): William of
                Longchamp
                2021: ‘Textualisation and Petrification: Written Sources, Identity and the Materiality
                of Buildings’ (CSIC Madrid, Università Roma Tor Vergata): ‘Church building in the
                Historia ecclesie Abbendonensis’

         Invited External Seminars: (since 2010)
                 2012 All Souls College, Oxford: ‘Constitutions of Clarendon, clause 3, and Henry
                 II’s reforms of law and administration’
                 2013 U. of Michigan Law School: ‘Maitland, Austin, and Maine’
                 2015 Oxford: ‘From the Articles of the Barons to Magna Carta’
                 2017 Glasgow: ‘Stringer’s saga’
                 2017 Oslo: ‘The civil war of Stephen’s reign and the development of English law’
                 2018 U. of Michigan Law School: ‘Thinking through The Law’s Two Bodies’
                 2018 Zurich: ‘Exploring patterns of legal development in twelfth-century Europe’
                 2020 Oxford/Cambridge: ‘Maitland, Civil Law, and Common Law’
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                  2020 U. of Michigan Law School: ‘Comparative legal history’
                  2023 Oxford University Political Thought seminar: ‘Legal thought and political
                  thought’
                  2023 University of Padova Faculty of Law: ‘Legal development in Europe: a
                  perspective from the 1190s’
                  2023 University of Nottingham Faculty of Law, inaugural lecture for Centre for
                  History of Law and Governance: 'Historians, Lawyers and the Varieties of Legal
                  History: a discussion of the work of J.C. Holt and S.F.C. Milsom' (with G.S. Garnett)

   EDITORIAL BOARDS

   Chief Editor, Brill book series ‘Medieval Law and its Practice’

   Advisory Board, BBC History Magazine (2000-20); Editorial Advisory Board (2006-2011)
   Adviser, A Dictionary of British and Irish History, ed. R. Peberdy and P. Waller (Chichester, 2021)
   Advisory Board, Journal of British Studies (1995-2001)
   Editorial Board, History Compass (Blackwells, on-line)
   Editorial Board, The Mediæval Journal (2011- )
   Advisory Council, Reviews in History (1997- )
   Advisory Board, Revista Chilena de Estudios Medievales (2011- )
